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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

EMILY GAMMOH
Plaintiff

-against-

UNITED STATES CITIZENSHIP AND Case No.
IMMIGRATION SERVICES
PLAINTIFF’S MEMORAMDUM OF
Defendant LAW IN SUPPORT OF HER MOTION
FOR A PRELIMINARY INJUNCTION
AND FOR AN EXPEDITED HEARING
ON THE SAME

 

 

INTRODUCTION
Plaintiff Emily Gammoh moves the Court to exercise its authority to enjoin the Defendant
United States Citizenship and Immigration Services (USCIS) from rejecting her Form I-129
upon behalf of Cherryl De Lima, from failing to treat this petition as having been filed on
January 5, 2022 and from failing to adjudicate it in the same order as other Forms I-129 received
for H-2B classification of beneficiaries on that date. Ms. Gammoh further asks this Court to
expedite a hearing on the same because a failure to almost immediately decide this motion is

likely to render it, and this action, moot.

As will be shown, the USCIS has rejected Ms. Gammoh’s petition precisely because she
complied with the instructions on the form and failed to provide an answer to a question on it
which would have been both nonsensical and absurd, not to mention perjurious and a (false)
admission of her intention to violate the law. What is more, the regulation which provided the
apparent basis for this regulation was promulgated for reasons that are completely illogical and

so arbitrary. Inasmuch as this rejection was both arbitrary and not in accordance with law, Ms.

 
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Gammoh has a clear and substantial likelihood of success on the merits of this action. Further,
she will suffer irreparable harm if the injunction is not granted, inasmuch as there are only a
limited number of visas available for H-2B workers which are being exhausted as this
memorandum is written and certainly will cease to be available long before the action is
adjudicated, or even before the USCIS must answer the complaint. Finally, for the same reason a

preliminary injunction is in the public interest and a hearing on this motion should be expedited.

BRIEF OVERVIEW OF THE RELEVANT PROVISIONS OF THE H-2B PROGRAM
8 U.S.C. § 1101 provides in relevant part that:
(a)As used in this chapter— ...

(15)The term “immigrant” means every_alien except an_alien who is within one of the
following classes of nonimmigrant aliens— ...

(H)

an alien ... (ii) ... (b) having a_residence in a foreign country which he has no intention of
abandoning who is coming temporarily to the United States to perform other

temporary service or labor if unemployed persons capable of performing such service or

labor cannot be found in this country, ... .

8 C.F.R. § 214.2(h)(6)(i11)(A) provides that “Prior to filing a petition with the director to
classify an alien as an H-2B worker, the petitioner shall apply for a temporary labor
certification with the Secretary of Labor for all areas of the United States, ... The labor
certification shall be advice to the director on whether or not United States workers
capable of performing the temporary services or labor are available and whether or not
the alien's employment will adversely affect the wages and working conditions of
similarly employed United States workers.”

A petition to classify a noncitizen as an H-2B nonimigrant (an H-2B petition) shall be
accompanied by an approved temporary labor certification issued by the Secretary of
Labor (or the Governor of Guam, as appropriate) 8 C.F,R, § 214.2(h)(6)(vi)(A) as well as
certain other documents not directly relevant to this action.

Of direct relevance however is the fact that :

“Aliens classified as H-2B nonimmigrants may not exceed 66,000” in any given fiscal
year, 8 C.F.R. § 214.2(h)(8)(i)(C), and that “(i)f the total numbers available in a fiscal
year are used, new petitions and the accompanying fee shall be rejected and returned with

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a notice that numbers are unavailable for the particular nonimmigrant classification until
the beginning of the next fiscal year. 8 C.F.R. § 214.2(h)(8)(ii)(C).

Further, “When calculating these numerical limitations .... for a given fiscal year, USCIS
will make numbers available to petitions in the order in which the petitions are filed.” 8
C.F.R. § 214.2(h)(8)(vii).

The USCIS’s website explains that:

Congress has set the H-2B cap at 66,000 per fiscal year, with 33,000 for workers who
begin employment in the first half of the fiscal year (October 1 - March 31) and 33,000
for workers who begin employment in the second half of the fiscal year (April 1 -
September 30). Any unused numbers from the first half of the fiscal year will be available
for employers seeking to hire H-2B workers during the second half of the fiscal year.
However, unused H-2B numbers from one fiscal year do not carry over into the next.
Once the H-2B cap is reached, USCIS may only accept petitions for H-2B workers who
are exempt from the H-2B cap.

“H-2B Temporary Non-Agricultural Workers” https://www.uscis.gov/working-in-the-
united-states/temporary-workers/h-2b-temporary-non-agricultural-workers (last accessed
January 25, 2022).

The USCIS is current accepling H-2B petitions and as a consequence the available
numbers are rapidly diminishing. In fact, last year the cap was reached by February 12,
2021. ‘“H-2B Cap Reached for Second Half of FY 2021”,
https://www.uscis.gov/news/alerts/h-2b-cap-reached-for-second-half-of-fy-2021 (last

accessed January 25, 2022).

After USCIS approves Form I-129, prospective H-2B workers (such as Cherry! De Lima) who
are outside the United States must:

o Apply for an H-2B visa with the U.S. Department of State (DOS) at a U.S.
Embassy or Consulate abroad and then seek admission to the United States
with U.S. Customs and Border Protection (CBP) at a U.S. port of entry; or

o Directly seek admission to the United States in H-2B classification with CBP
at a U.S. port of entry in cases where an H-2B visa is not required.

‘“H-2B Temporary Non-Agricultural Workers”, supra.

BRIEF STATEMENT OF RELEVANT FACTS

On December 19, 2008, the Department of Homeland Security to issue a “Final Rule”

amending, DHS regulations at 8 C.F.R. § 214.2 to provide, among other things, that
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“Beginning with petitions filed for workers for fiscal year 2010, an H-2B petition must state
an employment start date that is the same as the date of need stated on the approved
temporary labor certification.” Changes to Requirements Affecting H-2B Nonimmigrants
and Their Employers “ 73 FR 78103, 78129.

This amendment is codified as a portion of at 8 C.F.R. § 214.2(h)(6)Gv)(D).

The DHS provided the following purported “explanation” of the amendment:

This final rule adopts

the proposed requirement that an H-2B
petition identify an employment start
date that is the same as the date of
employment need stated on the
approved temporary labor certification.
New 8 CFR 214.2(h)(6)(iv)(D).
Considering this requirement, it would
be procedurally impossible for a
petitioner to file an H—2B petition any
sooner than the earliest date upon
which it is able to start recruiting for a
nonagricultural position.

Changes to Requirements Affecting H-2B Nonimmigrants and Their Employers “ 73 FR at
78129

On approximately October 5, 2021, Emily Gammoh filed an Application for Temporary Labor
Certification (TLC) with the Department of Labor, seeking its certification that qualified
workers in the United States are not available for the job of Nanny she wished to offer to Ms. De
Lima and that her employment will not adversely affect wages and working conditions of
similarly employed United States workers. Exhibit A at 1. On November 12, 2021, the
Department of Labor issued such a certification, indicating the "employment begin date" would

be December 23, 2021, and the "employment end date" would be December 23, 2022. Id.
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On January 5, 2022, Ms. Gammoh delivered a Form I-129 upon Ms. De Lima's behalf, seeking
to classify her as a nonimmigrant under 8 U.S.C. § 1101(a)(15)(H)(i1)(B), to the USCIS’s

Vermont Service Center (VSC). Exhibit A at 5. On January 10, 2020, the VSC issued a "Notice

of Action" to Ms. Gammoh stating in relevant part that:

Please resubmit your petition with this letter and all supporting documents to the address

below.
Your petition, supporting documents and fee(s) are being returned to you. Your petition

is being returned for the following reason:

You did not include a valid Determination for your ETA-9I 42B Application for
Temporary Employment Certification (TLC).

In order for the Determination to be valid, it must be on an "Approval of H 2B
Temporary Labor Certification" form. All fields must be filled in by the Department of

Labor (DOL).
The "From" date on Form I-129 found at Page S, Part S, number II must match the

Employment Begin Date in number 9 of the TLC.

Exhibit A at 119.

Although not expressly stated as such, it is apparent that this notice was of a "rejection" pursuant

to 8 C.F.R. 103.2(a)(7), providing in relevant part that:

(ii) A benefit request which is rejected will not retain a filing date. A benefit request will be
rejected if it is not:

(A) Signed with valid signature;
(B) Executed;

(C) Filed in compliance with the regulations governing the filing of the
specific application, petition, form, or request; and

(D) Submitted with the correct fee(s). If a check or other financial instrument used to pay
a fee is returned as unpayable because of insufficient funds, USCIS will resubmit the
payment to the remitter institution one time. If the instrument used to pay a fee is
returned as unpayable a second time, the filing may be rejected. Financial instruments
returned as unpayable for a reason other than insufficient funds will not be redeposited. If
a check or other financial instrument used to pay a fee is dated more than onc ycar before
the request is received, the payment and request may be rejected.

(iii) A rejection of a filing with USCIS may not be appealed.

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Inasmuch as the notice did not assert that the petition failed to comply with subparagraphs A, B,
or D, it is apparent that it was rejected because USCIS had found that it failed to comply with
subparagraph C, This is consistent with the notice’s assertion that:

You did not include a valid Determination for your ETA-9I 42B Application for

Temporary Employment Certification (TLC).

In order for the Determination to be valid, it must be on an "Approval of H 2B

Temporary Labor Certification" form. All fields must be filled in by the Department of
Labor (DOL).

The "From" date on Form I-129 found at Page S, Part S, number 11 must match the

Employment Begin Date in number 9 of the TLC.

Id.
Inasmuch as Ms. Gammoh did include with her petition an ETA-9142B Application for
Temporary Employment Certification (TLC) which was in fact on an Approval of H 2B
Temporary Labor Certification, form, and all the fields on that Form were filled in by the
Department of Labor (DOL), Exhibit A at 1, by process of elimination one is compelled to

conclude that this petition was rejected solely because the "From" date on Form I-129 found at

Page 5, Part 5, number 11 did not match the Employment Begin Date in number 9 of the TLC.

This particular provision of the Form I-129 states in its entirety:

"11. Dates of intent employment from: (mm/dd/yyyy) to: (mm/dd/yyyyy)." Exhibit A at 43.

The employment begin date in number 9 of the TLC filed with the petition is December 23,
2021. Exhibit A at 1. Therefore the rejection notice apparently held that the TLC was invalid
because Form J-129 did not indicate that the dates of intended employment were from December
23, 2021. Rather, the I-129 indicated that the dates of intended employment were from April 1,

2022 to December 23, 2022. Exhibit A at 43.
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ARGUMENT
On a motion for a preliminary injunction, the Court must balance four factors: (1) the movant's
showing of a substantial likelihood of success on the merits, (2) irreparable harm to the movant,
(3) substantial harm to the non-movant, and (4) public interest.'! Davis v. Pension Benefit Guar.

Corp., 571 F.3d 1288, 1291 (D.C. Cir. 2009).

l. MS. GAMMOH HAS A SUBSTANTIAL LIKELIHOOD OF SUCCESS ON THE
MERITS

A. The explanation provided by the USCIS for rejecting Ms. Gammoh’s petition was
entirely illogical and so arbitrary

 

' Although it is often asserted that the standard for a “mandatory” injunction is
higher than for a “prohibitory injunction’, this is not true. “(T)his court has
rejected any distinction between a mandatory and prohibitory injunction, observing
that "the ‘mandatory’ injunction has not yet been devised that could not be stated in
'prohibitory’ terms." League of Women Voters of the United States v. Newby, 838
F.3d 1, 7 (2016).

> In Davis the Court noted that “(t)he Supreme Court has recently addressed the
standard for a preliminary injunction. See Winter v. NRDC, 129 S. Ct. 365, 375
(2009) (holding that irreparable injury must be likely, ‘not just a possibility’). We
note that the analysis in Winter could be read to create a more demanding burden,
although the decision does not squarely discuss whether the four factors are to be
balanced on a sliding scale. See id. at 392 (Ginsburg, J., dissenting) (‘[C]ourts have
evaluated claims for equitable relief on a "sliding scale,” sometimes awarding
relief based on a lower likelihood of harm when the likelihood of success is very
high. This Court has never rejected that formulation, and J do not believe it does so
today.’).” Here as in Davis this Court need not decide which standard applies
because plaintiff succeeds even without considering the "sliding scale" analysis of

Davenport.
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The assertion that Ms. Gammoh “did not include a valid Determination for your ETA-9142B
Application for Temporary Employment Certification (TLC) because “the ‘From’ date on Form
]-129 found at Page 5, Part 5, number 11 must match the Employment Begin Date in number 9
of the TLC” is facially illogical, rendering the decision upon which it is premised arbitrary. 7RS
v. FLRA, 963 F.2d 429, 439, 295 U.S. App. D.C. 326 (D.C. Cir. 1992)). ("{I]f the result reached
is illogical on its own terms,' the Authority's order is arbitrary and capricious."). Ms. Gammoh
could not possibly have intended to employ Ms. De Lima from December 23, 2021 because that
date had already passed when the petition was delivered to USCIS. The ordinary meaning of
"intent" is “(h)ave (a course of action) as one's purpose or objective; plan.’ One cannot have a
course of action as one's purpose or objective or plan to do something in the past. One cannot say
(logically), for example, “I intend to go to school yesterday.” Therefore the decision rejecting

Ms. Gammoh's petition is facially illogical and so arbitrary.

Nevertheless, it might be argued that the decision to reject the petition was consistent with 8
C.F.R. § 103.2(a)(7), in that placing any date other than the start date of the TLC in the first
blank on Page 5, Part 5, number 11, would appear to be contrary to 8 C.F.R. §
214.2(h)(6)(iv)(D), providing in relevant part that “‘ an H-2B petition must state an employment
start date that is the same as the date of need stated on the approved temporary labor
certification.” Inasmuch as 8 C.F.R. § 103.2(a)(7)(4i)(C) provides that a request benefit may be
rejected if it is not “(filed in compliance with the regulations governing the filing of the

specific application, petition, form, or request’, it could be argued that the petition was properly

 

 

* Definition from Oxford Languages, online at
https:/www.google,com/search?q=intend+dictionary&rlz=1C1JZAP enUS909US9 1 0&og=int&ags=chrome.0.6915
913}35139j6916113}69165.8 13) 1|/7&sourceid=chrome&ie=UTF-8 (last accessed January 16, 2022).
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rejected for failing to comply with a regulation, even though this was not indicated in the Notice.
However, such an argument would be wrong as contrary to over DHS regulations which

expressly overrule 8 C.F.R. § 214.2(h)(6)(iv)(D).

8 C.F.R. § 103.2(a)(1) provides in relevant part that:
Preparation and submission. Every form, benefit request, or other document must be
submitted to DHS and executed in accordance with the form instructions regardless of a
provision of 8 C.F.R. chapter I to the contrary. The form's instructions are hereby
incorporated into the regulations requiring its submission.
The Form I-129 unambiguously directs the employer to state the "dates of intended
employment". Inasmuch as such dates could not under any circumstances include December 23,
2021, seeing that date had already passed, and in fact Ms. Gammoh actually intended to employ
Ms. De Lima beginning on April 1, 2022, therefore the only way that Ms. Gammoh could
comply with § 214.2(h)(6)(iv)(D) is to disobey the instruction on Form I-129, at Page 5, Part 5,
number 11. But since since DHS regulations required the petitioner to comply with the Form’s
instruction, even if there is a regulation in Chapter J to the contrary, and give the actual dates of
employment, which could not possibly include a start date of December 23, 2021, therefore

USCIS regulations required petitioner to enter an intended start date of April 1, 2022 on the

Form.

Finally, had Ms. Gammoh in fact stated on the Form I-129 that she intended to employ Ms. De
Lima from December 23, 2021, not only would she be testifying under penalty of perjury,
Exhibit A at 44, to an intent to do the impossible, but also to violate the law, since Ms. De Lima
was not authorized to be employed (and in fact was not even in the U.S., Exhibit A at 41) on

January 5, 2022, and the earliest date she could possibly have been legally employed would’ve
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been April 1, 2022, the earliest date an H-2B number might become available to her. So not only
was Ms. Gammoh’s petition rejected because she refused to testify under penalty of perjury to an
impossibility, but also because she refused to falsely confess to an intention of violating the

immigration laws of the United States.

Accordingly, inasmuch as the petitioner completed the Form J-129 in accordance with its
instructions and, so, with USCIS regulations, therefore it is substantially likely that this Court
will find the decision to reject her petition to be arbitrary (as illogical) and/or not in accordance
with law and, therefore, hold it unlawful and set it aside. 5 U.S.C. § 706(2).

B. The DHS’s promulgation of the regulation which provided the apparent basis for the

rejection of Ms. Gammoh’s petition was likelwise illogical and so arbitrary

As noted above, the DHS explained its amendment of its regulations to provide that
“(b)eginning with petitions filed for workers for fiscal year 2010, an H-2B petition must state an
employment start date that is the same as the date of need stated on the approved temporary labor
certification” as making it “procedurally impossible for petitioner to file an H—2B petition any
sooner than the earliest date uponwhich it is able to start recruiting for a nonagricultural
position”. Changes to Requirements Affecting H—2B Nonimmigrants and Their Employers “ 73
FR at 78129
This explanation is illogical, and so irrational, because it absolutely procedurally impossible for
an H-2B petition to be sooner than the earliest date upon the petitioner to be to start because an
H-2B petition must be filed with a temporary labor certification, 8 C.F.R. § 214.2(h)(6)(iv)(A),
and a temporary labor certification cannot be issued until after the H-2B petitioner has not
merely commenced, but actually completed. See 20 C.F.R. § 655.51 (a) (“The criteria for
certification include whether the employer has a valid H-2B Registration to participate in the H-

2B program and has complied with all of the requirements necessary to grant the labor

certification.”); 20 C.F.R.§ 655.20(s) (“Recruitment requirements. The employer must conduct
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all required recruitment activities, including any additional employer-conducted recruitment

activities as directed by the CO, and as specified in §§ 655.40 through 655.46.”).

Accordingly, this purported explanation for this regulatory amendment is entirely illogical, and
so arbitrary and capricious. FLRA, 963 F.2d at 439. Ms. Gammoh’s H-2B petition was rejected
solely because of her failure to comply with the provision of 8 C.F.R. § 214.2(h)(6)(iv)(D)
unlawfully providing that “(b)eginning with petitions filed for workers for fiscal year 2010, an
H-2B petition must state an employment start date that is the same as the date of need stated on
the approved temporary labor certification”.

Therefore, inasmuch as the DHS failed to provide a rational explanation for amending its
regulations to provide that “(b)eginning with petitions filed for workers for fiscal year 2010, an
H-2B petition must state an employment start date that is the same as the date of need stated on
the approved temporary labor certification”, the Court is substantially likely to find this
regulatory change unlawful and set aside pursuant to 5 U.S.C. § 706(2). Further, inasmuch as
the USCIS’s rejection of Ms. Gammoh’s H-2B petition was apparently solely upon her basis to
comply with this unlawful regulation, the rejection should likewise be held unlawful and set
aside. Id.

Finally, The Department of Homeland Security’s amendment to the instruction to Form I-129 to
implement language in it similar to the reference language of 8 C.F.R. § 214.2(h)(6)(iv)(D) was
done was no explanation whatsoever, rational or otherwise, and so was likewise arbitrary and

capricious and should be held unlawful and set aside.

II. MS. GAMMOH WILL SUFFER IRREPARABLE HARM IF USCIS IS NOT
ENJOINED FROM REJECTING HER PETITION AND FAILING TO PROCESS IT

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AS IF RECEIVED ON JANUARY 5 BECAUSE THE AVAILABLE H-2B NUMBERS

WILL RUN OUT LONG BEFORE THE USCIS IS EVEN REQUIRED TO FILE AN

ANSWER TO HER COMPLAINT
As noted, the 33,000 H-2B numbers available for the second part of the 2022 fiscal year are
already rapidly diminishing as the Court reads this memorandum, and will likely be exhausted by
February 12 of this year, if not (much) sooner. Therefore even a slight delay in requiring USCIS
to accept Ms. Gammoh’s petition and processing it as actually received will likely moot this
action. This is itself irreparable harm. John Doe Agency v. John Doe Corp., 488 U.S 1306, 1309,
109 S. Ct. 852, 853-54 (1989) (“The fact that disclosure would moot at part of the Court of
Appeals' decision requiring disclosure of the Vaughn index would also create
an irreparable injury. See New York v. Kleppe, 429 U.S. 1307, 1310 (1976) (MARSHALL, J., in
chambers) (‘Perhaps the most compelling justification for a Circuit Justice to upset an interim
decision by a court of appeals [is] to protect this Court's power to entertain a petition for
certiorari before or after the final judgment of the Court of Appeals’).’’), Michael v. INS, 48 F.3d
657, 664 (2d Cir. 1995) (“Absent a stay, Michael would suffer irreparable injury through

deportation, thereby mooting this case.”).

IJ. DEFENDANTS WILL SUFFER MINIMAL HARM FROM BEING PROHIBITED
FROM REJECTING THE PLAINTIFF’S FORM I-129

The balance of equities tip strongly in the plaintiffs’ favor in that although Mr. & Mrs.
De Jesus will suffer irreparable harm if the rejection of their applications is not prohibited, if
there is any harm to the defendants at all, it is minimal. See Ortega-Peraza v. Ilchert, No. C-
92-4972 MHP, 1993 U.S. Dist. LEXIS 2195, at *15 (N.D. Cal. Feb. 26, 1993) (‘On the other
hand, the burden on the defendants that would result from prohibiting their withholding of

employment authorization from Ortega-Peraza is minimal.”). Here prohibiting defendants
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from rejecting the plaintiffs’ forms places upon them virtually the same de minimis burden as

processing Mr. Ortega-Peraza’s application for employment authorization.

ITV. THE PUBLIC INTEREST FAVOR AN INJUNCTION

Finally, the public interest favors enjoining USCIS as requested inasmuch as there is a
public interest in just judgments (as well as just findings supporting them). Arizona v.
Washington, 434 U.S. 497, 510 (1978). Since not enjoining USCIS as requested will moot this
lawsuit long before the defendant’s unjust findings in this matter can be replaced with just ones,
accordingly an injunction requiring it to accept Ms. Gammoh’s petition and process it before it
is moot is in the public interest. Further, there is no prejudice to the agency or the public,
inasmuch as, if after accepting Ms. Gammoh’s petition for filing and processing in the order it
was actually received, the USCIS ultimately concludes that it is unapprovable, it can still deny it.

CONCLUSION

Inasmuch as Ms. Gammoh is substantially likely to prevail on the merits of her action and
will suffer irreparable harm if the USCIS is not enjoined from rejecting her Form I-129 upon
behalf of Cherry] De Lima, from failing to treat her petition as having been filed on January 5,
2021 and from failing to adjudicate it in the same order as other Forms I-129 received for H-2B
classification of the beneficiaries on that date, the USCIS should be enjoined as requested.
Further, inasmuch as this Court’s failure to act almost immediately upon this motion is likely to
render it moot before it can be decided, this Court should expedite a hearing on it.

Respectfully Submitted this 1*" day of February, 2022.
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s/Michael E. Piston

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